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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-1226

v.                                                         Judge Jorge L. Alonso

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey Cummings
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 15                                    anime*world
                 34                                factory-wholesale888
                 30                                   discount*store
                 13                                2019wholesale-store
                 79                                   toys_top1*gift
                 75                                       top*gift
                 77                                      toys*gift
                 56                                   lovely*520baby
                 37                                   figure*factory
                 45                                     ivita-china
                 90                                     world*toys
                 89                                    world*china
                 78                                   toys_shop2018
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             76                                  top_tore
             58                             mascot_shop2018
             62                                 nb*seller
             33                             factorty-wholesale
             67                            professional**seller
             14                                  adahot
            155                    homebuy International Trade Co., Ltd
            283                                ORYOUGO
             99                              amazinghappens
            244                             WOPUTUO LTD
             95                          18912883939@163.com
            281                                 Minecarts
            338                             Highquality4you
            405                             wiess lamp Store
            318                          Dreaming Homes Store
            323                                Expectation
            350                            LoveOurLife Store
            298                            Baby Boutique Store
            264                        Zeanoog Internatianl Co.Ltd



DATED: April 12, 2019                       Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 12, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
